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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



VOTEAMERICA, et al.,
                                          Civil Action No.:
                Plaintiffs,               1:21-CV-1390-JPB

                  v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State for the State of Georgia, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.



           STATE DEFENDANTS’ MEMORANDUM OF LAW
       IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                              INTRODUCTION

      Recent elections in Georgia have revealed that third-party organizations

like Plaintiffs sent absentee-ballot applications that caused confusion and

concern among Georgia voters. For instance, Plaintiffs sent applications that

were pre-filled with incorrect information about voters. And Plaintiffs sent

multiple applications to the same voters. This caused many recipients of

Plaintiffs’ mailings to contact the State with concerns about election integrity

and the potential for voter fraud. This also required State officials to divert

their finite resources away from other election-related responsibilities.

      In response, the Georgia General Assembly included three modest

regulations governing these activities (the “Challenged Provisions”) as part of

a larger election law—SB 202. First, complaints and confusion about the

receipt of applications with incorrect pre-filled information led to SB 202’s

prohibition on pre-filled applications (“Pre-Filling Prohibition”). Second,

complaints and confusion about multiple absentee-ballot applications led to SB

202’s prohibition on sending applications to voters who already applied for such

a ballot (“Anti-Duplication Provision”). Third, complaints and confusion about

whether unsolicited applications were actually State-issued ballots led to SB

202’s disclaimer requirement—i.e., a statement that the applications are not

ballots and are not sent by the State (“Disclaimer Provision”).
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      At each turn, however, the General Assembly ensured that organizations

like Plaintiffs may still communicate their messages about absentee voting to

Georgia voters. Indeed, SB 202 regulates no other mailings Plaintiffs wish to

send to voters encouraging them to vote by absentee ballot. SB 202 thus struck

a careful balance between prohibiting conduct that caused significant concern

and confusion among voters and allowing Plaintiffs to still communicate their

messages to Georgia voters. Indeed, the Court agreed with that fundamental

conclusion when it denied Plaintiffs’ motion for a preliminary injunction.

      Since then, discovery has confirmed that the Challenged Provisions

cause Plaintiffs little to no harm. In contrast, the record developed through

discovery confirms that the harms to the State and Georgia voters by the

actions of Plaintiffs and other groups were significant.

      For these reasons, summary judgment should be entered in favor of the

State on each of Plaintiffs’ claims. For instance, the Pre-Filling Prohibition

and the Anti-Duplication Provision do not restrict Plaintiffs’ speech and are

thus subject only to rational-basis review, which each provision easily satisfies.

But even under Anderson-Burdick review, these provisions survive because

they are reasonable restrictions that impose only minimal burdens on

Plaintiffs’ activities and are justified by the State’s legitimate interests.

      The same is true for the Disclaimer Provision, which, although it affects

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Plaintiffs’ speech, is also subject only to Anderson-Burdick review. Here again,

Plaintiffs have shown no harm caused by a disclaimer on their application

mailings, but the State has shown how this provision is tied to its significant

interest in minimizing voter confusion and ensuring efficient elections.

      Plaintiffs’ freedom-of-association challenges to these provisions are

equally doomed by the simple fact that, as this Court already concluded (Order

at 27 [Doc. 131]), Plaintiffs typically send their application materials to

strangers, and each provision serves compelling State interests.

      Finally, Plaintiffs’ overbreadth and vagueness challenges fail because

Plaintiffs rely exclusively on far-fetched hypotheticals to support their claims.

But the record developed through discovery confirms that each of the

Challenged Provisions is clear, and Plaintiffs developed no evidence showing

otherwise. Accordingly, summary judgment should be entered for the State.

                               BACKGROUND

A.    Factual background

      Plaintiffs’ absentee-ballot application mailings.       For several election

cycles, Plaintiffs Voter Participation Center (“VPC”) and the Center for Voter

Information (“CVI”) 1 sent absentee-ballot applications to voters in many



1 Plaintiff VoteAmerica dismissed its claims.   [Doc. 142].


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states, including Georgia. Depo. of T. Lopach 42:8–11, 62:4–12 (Ex. A). In each

such mailing, Plaintiffs included a cover letter explaining why they believe that

absentee voting is important and encouraging the recipient to complete and

return the application. Id. 63:2–7, 64:13–65:4. Plaintiffs’ cover letter also

included instructions for how to complete and return the application. Ex. B.

      In more recent election cycles, Plaintiffs began pre-filling those

applications with what they believed was the voter’s personal information.

Lopach Depo. 112:8–13. But, as Plaintiffs acknowledge, that information was

often incorrect.   Id. 127:20–128:2, 129:14–19.        And, as Plaintiffs also

acknowledge, they routinely sent multiple absentee-ballot applications to the

same voters. Id. 109:20–110:15, 111:9–12. Those recipients often contacted

Plaintiffs to complain about the mailings and to request removal from future

mailing lists. PI Hr’g Tr. 84:13–24 (“Day 1 Tr.”) (Ex. C); Lopach Depo. 102:19–

103:12, 153:15–154:5.

      SB 202 responds to voter concerns. At the same time, Georgia voters

complained to the State about the absentee-ballot applications they were

receiving from third-party organizations like Plaintiffs. Decl. of R. Germany

¶¶ 13, 23, 41, 49–50 [Doc. 113-2]; Depo. of R. Germany 181:7–12 (Ex. D); Depo.

of M. Mashburn 90:11–23, 91:2–13 (Ex. E). In particular, voters complained

about: (1) receiving applications that were pre-filled with incorrect

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information; (2) receiving duplicate applications; and (3) receiving applications

that were not sent by the State. SB 202 addresses each of these complaints.

      Pre-Filling Prohibition.   As noted, before SB 202, organizations like

Plaintiffs increased their use of pre-filled absentee-ballot applications.

Germany Decl. ¶¶ 20–21; Mashburn Depo. 88:16–89:15; PI Hr’g Tr. 18:13–20,

19:4–13, 19:25–20:5 (“Day 2 Tr.”) (Ex. F); Lopach Depo. 34:1–10, 153:7–9. And

that pre-filled information was often incorrect. For instance, many voters

complained that the pre-filled applications listed individuals who no longer (or

never) lived at the address. Ex. G. Other voters complained to the State that

the applications were pre-filled with incorrect information. Id. These errors

caused many Georgia voters to contact the Secretary of State’s office with

questions and concerns about potential fraud. Germany Decl. ¶ 22; Day 2 Tr.

22:4–14; Mashburn Depo. 84:3–4; Ex. G.

      Responding to these concerns, SB 202 prohibits sending absentee-ballot

applications that are “prefilled with the elector’s required information.”

O.C.G.A. § 21-2-381(a)(1)(C)(ii). But this provision still allows organizations

like Plaintiffs to send absentee-ballot applications. They simply may not pre-

fill the applications.

      Anti-Duplication Provision. Georgia voters also complained about

receiving multiple absentee-ballot applications from organizations like

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Plaintiffs. Germany Decl. ¶ 39; Day 2 Tr. 19:25–20:5, 22:4–14; Ex. H. Voters

were worried that these applications presented an open invitation for voter

fraud—a concern exacerbated by voters believing that the applications

themselves were actually ballots. Germany Decl. ¶ 42; Day 2 Tr. 20:3–5.

      Moreover, voters who received multiple applications often returned

multiple applications. Germany Depo. 51:2–18. And, in some instances, they

did so even though they did not intend to vote by absentee ballot. Germany

Decl. ¶ 43; Day 2 Tr. 28:12–16, 42:16–22; Germany Depo. 199:13–25. This

required election officials to divert their finite resources to processing many

unnecessary absentee-ballot applications.    Day 2 Tr. 28:16–21.     Then, on

Election Day, officials were required to process many absentee-ballot

cancellations when voters who had submitted absentee-ballot applications

arrived to vote in person, leading to longer lines. Day 2 Tr. 29:25–30:4;

Germany Depo. 199:13–200:7. For the 2020 general election, for instance, there

were 40,694 absentee-ballot applications cancelled by voters when they arrived

to vote in person, compared with only 5,472 such cancelled applications during

the 2018 general election, and 3,170 cancelled applications during the 2016

general election. Germany Decl. ¶ 31.

      Responding to these concerns, SB 202 prohibits distributing duplicate

applications once a voter has requested an absentee ballot. O.C.G.A. § 21-2-

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381 (a)(3)(A). But this provision does not prohibit organizations like Plaintiffs

from sending multiple applications before a voter requests a ballot. Id. And it

contains a safe harbor allowing Plaintiffs to avoid liability for sending

duplicate applications if they relied upon information made available by the

State within five business days before their mailing. Id.

      Disclaimer Provision. Finally, Georgia voters expressed confusion about

who was sending the various absentee-ballot applications. Day 2 Tr. 13:12–15;

Mashburn Depo. 90:10–23. In many instances, voters thought they came from

the State, and thus they contacted election officials with questions. Mashburn

Depo 90:11–23. And, as noted above, these questions included concerns about

whether the applications were actually ballots. Id. 84:4–6, 90:10–23, 91:2–13.

As one county election supervisor explained, the misimpression that each such

application was sent by the State would lead “people [to] feel the need to

complete and sign [the] form without really paying attention to what it is for.”

Germany Decl. ¶ 49.

      To address this problem, SB 202 requires that, when Plaintiffs and

similar organizations send absentee-ballot applications, they include a short

disclaimer stating that the application is “NOT an official government

publication and was NOT provided to you by any governmental entity and this

is NOT a ballot.”     O.C.G.A. § 21-2-381(a)(1)(C)(ii).     Through this short

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disclaimer, SB 202 addressed the various concerns expressed by voters about

prior practices. The disclaimer explains that the application is not a ballot,

and it informs a voter that the application was not sent by the State. As

Plaintiffs’ own expert confirmed, this disclaimer is “true.” Day 1 Tr. 215:23–

216:16.

B.    Procedural background

      Plaintiffs filed their complaint on April 7, 2021. [Doc. 1]. On December

9, 2021, this Court denied Defendants’ motion to dismiss. [Doc. 57]. On June

30, 2021, this Court also denied Plaintiffs’ motion for a preliminary injunction.

[Doc. 131]. In so doing, this Court held that neither the Pre-Filling Prohibition

nor the Anti-Duplication Provision implicated the First Amendment and were

thus subject only to Anderson-Burdick scrutiny, a test they likely passed. Id.

at 36–40. Likewise, the Court held that, while the Disclaimer Provision

compelled speech, the compulsion was minor, and that the Disclaimer

Provision was also subject to and likely passed Anderson-Burdick scrutiny. Id.

at 40–43. In the alternative, the Court applied First Amendment scrutiny and

found that both the Anti-Duplication Provision and the Pre-Filling Prohibition

survived rational-basis review and that the Disclaimer Provision was subject

to and likely survived the exacting scrutiny standard that applied to

disclaimers in the election context. Id. at 44–47.

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                            LEGAL STANDARDS

      Summary judgment is appropriate where the record shows that there is

no genuine dispute about any material fact and the moving party has shown

that it is entitled to judgment as a matter of law. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247 (1986). A factual dispute is “material” only if it “might

affect the outcome of the suit under the governing law.” Id. at 248. And a

dispute is only “genuine” if supported by more than a mere “scintilla of

evidence.” Id. at 252. Although the Court views the record in the light most

favorable to the non-moving party, MidAmerica C2L Inc. v. Siemens Energy

Inc., 25 F.4th 1312, 1325 (11th Cir. 2022), the non-moving party cannot rely on

speculation or conjecture to meet its burden of production, Ave. CLO Fund,

Ltd. v. Bank of Am., N.A., 723 F.3d 1287, 1294 (11th Cir. 2013).

                                 ARGUMENT

      Plaintiffs’ First Amendment claims fail because the record shows that

each of the Challenged Provisions furthers compelling interests and Plaintiffs

have failed to identify evidence showing that their speech or freedom of

association is harmed. Additionally, Plaintiffs’ vagueness and overbreadth

claims fail because Plaintiffs rely exclusively on unsupported hypothetical

concerns, not upon any genuine vagueness or overbreadth.




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I.    The Pre-Filling Prohibition and the Anti-Duplication Provision
      Survive Any Level of Scrutiny.

      As this Court has already held, neither the Pre-Filling Prohibition nor

the Anti-Duplication Provision “implicate[s] Plaintiffs’ First Amendment

rights.” [Doc. 131 at 38, 44–45]. Both are therefore subject to rational-basis

review. But even under Anderson-Burdick, these provisions pass constitutional

muster and summary judgment should be entered for the State.

      A.    The    Pre-Filling   Prohibition      and   Anti-Duplication
            Provision do not restrict Plaintiffs’ core political speech or
            their expressive conduct, and they are thus subject to, and
            survive, rational-basis review.

      As noted, Plaintiffs have failed to meet their “obligation,” as the Supreme

Court requires, to “demonstrate that the First Amendment even applies” to

their pre-filled absentee-ballot applications or their duplicate mailings. Clark

v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 n.5 (1984). Rather, as

this Court correctly recognized, “the Prefilling and Anti-Duplication Provisions

do not implicate Plaintiffs’ First Amendment rights.” [Doc. 131 at 38]. And the

record developed through discovery confirms that conclusion.

      1.   As this Court held (id. at 17–28), Plaintiffs’ claims that these

provisions violate the First Amendment are foreclosed by Supreme Court

precedent. Indeed, while the First Amendment protects certain speech and

expressive conduct, the Supreme Court has repeatedly explained that the Free


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Speech Clause protects only “inherently expressive” conduct. E.g., Rumsfeld v.

FAIR, 547 U.S. 47, 66 (2006). And such a showing requires more than merely

“combining speech and conduct.” Id.         Otherwise, “a regulated party could

always transform conduct into ‘speech’ simply by talking about it.” Id. But

that is what Plaintiffs try to do here, asking the Court to import the expressive

conduct from their cover letters—which SB 202 does not affect—into the

activity that SB 202 does affect—namely, their absentee-ballot applications.

      To avoid such gaming of the system, the Supreme Court developed a two-

part test to determine whether conduct is inherently expressive. First, courts

ask whether the plaintiff intended to “convey a particularized message.” Texas

v. Johnson, 491 U.S. 397, 404 (1989). Second, courts ask whether that message

would likely be “understood by those who viewed it.” Id. Plaintiffs cannot

satisfy this test.

      In fact, courts across the country have applied the two-part Johnson test

and rejected claims that sending or collecting forms is protected expressive

conduct. See New Ga. Project v. Raffensperger, 484 F. Supp. 3d 1265, 1300

(N.D. Ga. 2020) (collecting cases). In Feldman v. Arizona Secretary of State’s

Office, for instance, the Ninth Circuit explained that a similar activity—

collecting ballots—is not expressive conduct, despite the “ballot collectors’

inten[t] to communicate that voting is important.” 843 F.3d 366, 392 (9th Cir.

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2016). Similarly, the Fifth Circuit applied Johnson and rejected a challenge to

a law that limited who could work with voter-registration forms, holding that

“non-expressive conduct does not acquire First Amendment protection

whenever it is combined with another activity that involves protected speech.”

Voting for Am., Inc. v. Steen, 732 F.3d 382, 389, 392 (5th Cir. 2013).

      Applying this same standard, this Court previously held (Doc. 131 at 25–

26) that the inclusion of a cover letter with an absentee-ballot application does

not convert the application itself into speech, but that providing the application

is instead simply a way to facilitate the machinery of voting—that is, it is

conduct. See Democracy N.C. v. N.C. State Bd. of Elections, 476 F. Supp. 3d

158, 225 (M.D.N.C. 2020) (“Delivering absentee ballot requests is not

expressive conduct.”). For that reason, the application itself—the only part of

Plaintiffs’ mailing that SB 202 regulates—could not be “understood by those

who viewed it” to “convey a particularized message.” Johnson, 491 U.S. at 404.

      2. Nothing in the record developed since the Court issued its

preliminary-injunction Order changes that conclusion. Rather, it remains true

that Plaintiffs’ sending pre-filled applications is not “expressive conduct

subject to First Amendment protections.” [Doc. 131 at 26]. Indeed, as this Court

explained, “Plaintiffs’ pro-absentee voting message is not necessarily intrinsic

to the act of sending prospective voters an application form” because recipients

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could understand the receipt of the application, without more, to “mean a

number of things” beyond Plaintiffs’ intended message. Id. Rather, it is the

cover letter that expresses Plaintiffs’ views, which is no doubt why Plaintiffs

have never sent absentee-ballot applications without a cover letter. Lopach

Depo. 62:4–63:7, 70:4–11. 2

      Thus, Plaintiffs’ sending absentee-ballot applications—prefilled or not—

is entirely separate from their absentee-voting message, which is typically

included in their cover letters. While Plaintiffs may wish to “encourage all

Georgians … to participate in elections through absentee voting,” Decl. of T.

Lopach ¶ 12 [Doc. 103-3], that message is delivered through the cover letter

Plaintiffs send with the ballot application, not by the application itself, id. ¶ 17.

And that cover letter is unaffected by SB 202.

      In fact, as this Court recognized, Plaintiffs may say whatever they wish

to Georgia voters “as often as—and in whatever form—that they desire.”

[Doc. 131 at 20]. And both the cover letter and the absentee-ballot applications




2   If the application itself expressed a message, there would certainly be
instances of Plaintiffs’ sending applications alone, considering that doing so
would be much less expensive. Lopach Depo. 62:4–63:7, 70:4–11.


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at issue here “can exist and be sent without the other.” Id. at 21. 3 Thus, as

this Court correctly held, the sending of multiple or pre-filled applications is

not “characteristically intertwined” with otherwise protected speech. Id.

      Accordingly, the record confirms that SB 202 does not restrict Plaintiffs’

ability to “explain … how to request and cast an absentee ballot” or to send

“messaging that express[es] VPC/CVI’s advocacy for absentee voting and

encourages voters to apply to vote absentee.” Id. Sending the application is

conduct, not speech. 4

      3. Because these provisions do not implicate speech, they are subject only

to rational-basis review. Steen, 732 F.3d at 392; Johnson v. Robison, 415 U.S.




3 Before SB 202, for example, “VPC/CVI sent follow up mail to Georgia voters

reminding them to submit mail ballots if they had requested one and had not
yet submitted it.” Pls.’ Resps. to RFAs, No. 3 (Ex. I). They may still do so.
4 Because the applications are conduct, and not speech, Plaintiffs’ claim (Doc.

103 at 13–15) that the applications are core political speech likewise fails. As
this Court already recognized, these provisions of SB 202 do not implicate the
“type of interactive debate and advocacy that the Supreme Court found
constituted core political speech in Meyer [v. Grant, 486 U.S. 414 (1988)].” [Doc.
131 at 20]. Rather, Meyer involved the “circulation of a petition” that included
“‘both the expression of a desire for political change and a discussion of the
merits of the proposed change,’” including “‘an explanation of the nature of the
proposal and why its advocates support it.’” Id. at 17 (quoting Meyer, 486 U.S.
at 421). Those features are absent from Plaintiffs’ absentee-ballot applications.


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361, 375 n.14 (1974). 5 Under that standard, each provision easily survives

scrutiny because they are rationally related to the compelling ends of “avoiding

voter confusion and reducing the administrative burden on election officials.”

[Doc. 131 at 45].

      As the General Assembly confirmed when passing SB 202, these

provisions addressed “some outside groups” sending “multiple absentee ballot

applications,” often “with incorrectly filled-in voter information,” leading to

“significant confusion by electors.” SB 202 § 2(8). Many voters contacted the

State to express confusion about why they were receiving incorrect or duplicate

applications and to express concern that such applications invited fraud. Day 2

Tr. 19:4–13, 19:25–20:5; Germany Decl. ¶¶ 23, 41; Germany Depo. 181:7–17.

State Election Board (“SEB”) Member Matthew Mashburn gave further

examples of such confusion, explaining that voters who received multiple

applications sometimes considered them to be multiple ballots, or were not

sure if they needed to fill out multiple copies of the form.          Mashburn

Depo. 83:22–84:14; accord Depo. of M. Kidd 183:7–184:13 (Ex. J). And, as Mr.



5 In fact, the Third Circuit recently recognized as much, holding that, even if a

law regulates the mechanics of the electoral process, the Anderson-Burdick
framework does not apply unless the law “burden[s] a relevant constitutional
right.” Mazo v. New Jersey Sec’y of State, No. 21-2630, 2022 WL 17172673,
at *6 (3d Cir. Nov. 23, 2022).


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Mashburn further explained, there was a “giant wave of complaints” from

voters who received applications “for people that used to live” at their homes

but no longer do, applications that had women’s “maiden name[s],” or

applications “for [a] dead relative[.]” Mashburn Depo. 88:16–89:15.

      The Pre-Filling Prohibition and the Anti-Duplication Provision thus

respond directly to these concerns. For instance, voters who already requested

an absentee ballot will no longer receive an application from third-party groups

that confuses those voters. Nor will voters face the confusion from receiving an

official-looking form pre-filled with incorrect personal information.         By

addressing such concerns, these provisions of SB 202 easily survive rational-

basis review.   As the Eleventh Circuit explains: “Only in an exceptional

circumstance will a statute not be rationally related to a legitimate government

interest and be found unconstitutional under rational basis scrutiny.”

Williams v. Pryor, 240 F.3d 944, 948 (11th Cir. 2001) (emphasis added). This

is not such an “exceptional” case, and summary judgment should thus be

entered for the State on Plaintiffs’ claim alleging free-speech violations.

      B.    The Pre-Filling Prohibition and the Anti-Duplication
            Provision Would Also Survive Anderson-Burdick scrutiny.

      If the Court were to nonetheless conclude that the Pre-Filling

Prohibition and the Anti-Duplication Provision regulate speech, the Anderson-



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Burdick standard applies, and the provisions still survive. See Burdick v.

Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789

(1983). Under that test, the Supreme Court explains, if a “burden is not severe

and imposes only reasonable, nondiscriminatory restrictions” on rights, “‘the

State’s important regulatory interests are generally sufficient to justify the

restrictions.’”   Mazo v. New Jersey Sec’y of State, No. 21-2630, 2022 WL

17172673, at *12 (quoting Burdick, 504 U.S. at 434). As the Fifth Circuit

explains, this test looks at the “reasonable[ness]” of the “voting restriction.”

Richardson v. Tex. Sec’y of State, 978 F.3d 220, 241 (5th Cir. 2020). And, as

this Court explained, slight burdens can be “justified by relevant and

legitimate state interests” that are “sufficiently weighty to justify the

limitation.” [Doc. 131 at 38] (quoting Crawford v. Marion Cnty. Election Bd.,

553 U.S. 181, 191 (2008)). And here, this Court concluded already, “the

magnitude of the alleged injury is not severe.” Id.

      That conclusion was and remains correct. As the Third Circuit recently

recognized when upholding an election law that regulated what a candidate

could include next to her name on a ballot, there is no “litmus test for

measuring the severity of a burden that a state [election] law imposes.” Mazo,

2022 WL 17172673, at *12 (quoting Crawford, 553 U.S. at 191). Rather, the

Third Circuit explained, the severity of the burden is determined by looking at

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whether the election law applies “equally to all,” whether it leaves “open ample

and adequate alternatives for expression and association,” and whether it

imposes a “specific burden” on the plaintiffs or anyone else. Id.

      As the record now confirms, each of those characteristics is possessed by

the Anti-Duplication Provision and the Pre-Filling Prohibition. They apply

equally to all third parties, and they allow many alternative forms of

communication. For instance, Plaintiffs may send absentee-ballot applications

to any voters who have not yet requested a ballot. Lopach Depo. 162:4–19

(explaining that under SB 202, Plaintiffs were able to send applications to

voters in the 2022 midterm elections). 6 And, as noted earlier, Plaintiffs may

send as many letters to Georgia voters as they wish. 7 Day 2 Tr. 45:19–46:8.

Thus, nothing learned in discovery can overcome this Court’s prior conclusion

that the magnitude of the injury is not severe.

      Additionally, unlike the minimal burden on Plaintiffs’ speech, these

provisions serve important and compelling State interests of decreasing voter



6 And Plaintiffs already have a mechanism for removing voters from their
mailing lists. Lopach Depo. 106:3–10, 166:19–167:9.
7 Moreover, as this Court recognized, the General Assembly could have

followed what “some states have done,” and entirely “prohibit[ed] the
distribution of application forms by third parties.” [Doc. 131 at 38–39]. But the
General Assembly did not do so, allowing Plaintiffs to express their views on
absentee voting widely and repeatedly.

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confusion, combatting complaints of fraud, and increasing election integrity.

See Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2340 (2021)

(combatting fraud is a “strong and entirely legitimate” reason for enacting

voting laws); Am. Party of Tex. v. White, 415 U.S. 767, 782 n.14 (1974)

(“preservation of the integrity of the electoral process” is a “compelling”

objective); New Ga. Project v. Raffensperger, 976 F.3d 1278, 1282 (11th Cir.

2020) (legitimate state interest in “conducting an efficient election”). As noted

earlier, the record shows that these provisions further each of these interests.

Voters were previously confused by incorrectly pre-filled applications and

duplicate applications, which caused voters to submit multiple applications

and to complain about potential for fraud. Germany Depo. 199:13–21. This

resulted in delay and confusion on Election Day. Day 2 Tr. 29:25–30:4.

      Thus, under Anderson-Burdick, these provisions impose “reasonable

voting restrictions” that have only a slight impact on Plaintiffs and that further

compelling State interests. Richardson, 978 F.3d at 241. Accordingly, both

the Pre-Filling Prohibition and the Anti-Duplication Provision are permissible

under the Anderson-Burdick framework.

II.   The Disclaimer Provision Does Not Unconstitutionally Burden
      or Compel Plaintiffs’ Speech.

      As with their other challenges, Plaintiffs fail to show that the Disclaimer



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Provision violates the First Amendment by unconstitutionally compelling their

speech or burdening their Free Speech rights. As this Court already

recognized, “the state’s burden of proof” is “lower in cases involving compelled

disclaimers,” where a less rigorous, “exacting” scrutiny generally applies,

[Doc. 131 at 30], and lower still in election cases where, if a regulation is “not

a direct regulation of speech,” “the Anderson-Burdick framework applies,” id.

at 36. Because the Disclaimer Provision does not burden Plaintiffs’ speech and

only requires an accurate disclaimer, this Court should, once more, apply the

Anderson-Burdick framework, or, at the most, the exacting-scrutiny standard

of Citizens United. Under either standard, the Disclaimer Provision is lawful.

      A.    The Disclaimer Provision Survives Anderson-Burdick
            scrutiny.

      The Court’s initial conclusion that the Anderson-Burdick framework

applies to the Disclaimer Provision was correct because the Disclaimer

Provision “is not a direct regulation of speech.” [Doc. 131 at 36]. In applying

Anderson-Burdick, the Court should grant summary judgment to the State

because Plaintiffs have not identified any evidence showing that the

Disclaimer Provision causes them harm, but the State has identified

significant evidence of the harms that the Provision addresses.

      First, there is still no evidence that the Disclaimer Provision imposes any



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real harm on Plaintiffs. Earlier, Plaintiffs claimed that the Disclaimer

Provision “compels them to disseminate false or, at the very least, misleading

information.” Id. at 40. But that argument is longer available to Plaintiffs, as

their expert, Dr. Donald Green, testified that, as to the required disclaimer,

“the statement is true.” Id. at 42 n.13; Day 1 Tr. 215:23–216:16. 8

      Further, the Disclaimer Provision is nondiscriminatory and leaves open

ample other mechanisms for Plaintiffs to communicate their pro-absentee-

voting message. As with the Anti-Duplication Provision and the Pre-Filling

Prohibition, the Disclaimer Provision allows Plaintiffs to engage with voters

however they wish as long as they do not send an application without

identifying themselves. Day 2 Tr. 45:19–46:8. And it applies equally to all

third-party groups sending unsolicited absentee-ballot applications.

      Moreover, despite months of discovery, Plaintiffs have identified no

additional evidence of any harm from including an accurate disclaimer in their

mailings. Rather, as this Court recognized, the only evidence—beyond Dr.



8 The State is separately filing a motion to exclude certain conclusions Dr.

Green made with respect to the Challenged Provisions. As the State explains
more thoroughly in that motion, Dr. Green’s adverse opinions regarding the
Challenged Provisions are not based on any reliable scientific methodology, are
themselves unreliable, and would not assist the trier of fact in evaluating the
issues in this case as required by Federal Rule of Evidence 702 and Daubert v.
Merrill Dow Pharms., Inc., 509 U.S. 579 (1993).


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Green’s ipse dixit—is a “cursory survey of only five potential Georgia voters”

offered by Dr. Green in his report that Dr. Green himself “conceded … cannot

establish what proportion of absentee ballot applications would not be returned

as a result of the Disclaimer.” [Doc. 131 at 42]. The Court correctly found that

evidence “regarding the Disclaimer’s impact” to be “unpersuasive.” Id. at 47.

      In fact, discovery has only underscored the shortcomings of this evidence,

showing that mailings such as Plaintiffs’ already have minimal impact on the

recipient. For instance, Dr. Green testified that: “[C]ertain get-out-the-vote

efforts, including direct mail efforts,” have little to no effect. Depo. of D. Green

46:6–47:5 (Ex. K). The most common result with direct mail—even without the

disclaimer—is that “recipients will glance at the piece only momentarily on

route to the trashcan.” Id. 97:15–98:8. Unsurprisingly, then, Dr. Green’s

“cursory survey” showed that a voter would likely do just that with Plaintiffs’

mailing—throw it in the trash. Depo. of A. Hamilton 60:17–19 (Ex. L). Yet

Plaintiffs have not developed any other evidence that the Disclaimer Provision

harms them.

      Second, and by contrast, the record is replete with examples of the harms

that the Disclaimer Provision is designed to remedy. In the 2020 election,

voters regularly complained about receiving multiple ballot applications from

third parties. Day 2 Tr. 32:19–33:5; Mashburn Depo. 84:4–6, 91:2–13; Kidd

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Depo. 182:10–184:13. Some of those voters, in turn, believed that their initial

ballot requests were insufficient after receiving subsequent applications that

they incorrectly concluded came from the Secretary of State. Mashburn Depo.

90:10–23. And these voters frequently contacted the State with questions

about these mailings that came from third parties. See Exs. G, H, M.

      The Disclaimer Provision directly responds to those concerns by ensuring

that voters know the mailing is not a ballot. Day 2 Tr. 44:2–45:1. Also, the

Disclaimer ensures that the recipient knows who sent the application, and

where to direct any questions.    Id. 43:12–19. And, because a third-party

absentee-ballot application says it is not being sent by a government entity,

voters are no longer left wondering if they must complete it to vote. Id.

      Thus, the evidence produced to date shows that the benefits of the

Disclaimer Provision to the State’s compelling interests far outweigh any

possible harms to Plaintiffs. Accordingly, this Court should find that the

Disclaimer Provision survives Anderson-Burdick scrutiny.

      B.    The Disclaimer Provision Survives Exacting Scrutiny.

      Although this Court was correct at the preliminary-injunction stage to

apply Anderson-Burdick scrutiny to the Disclaimer Provision, the Provision

would survive even exacting scrutiny. As this Court recognized, [Doc. 131

at 46], a disclaimer subject to “exacting scrutiny” survives if there is: (1) a


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“substantial relation” between the disclaimer and a “sufficiently important

government interest,” Citizens United v. FEC, 558 U.S. 310, 366–67 (2010);

and (2) narrow tailoring, “even if [the rule] is not the least restrictive means,”

Ams. for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2384 (2021).

      As discussed above, and as this Court has already concluded, the

Disclaimer Provision is substantially related to the State’s interests in

“reducing   voter    confusion   and   ensuring   the   effective   and   efficient

administration of its elections.” [Doc. 131 at 46]. And that is an interest of the

“highest order.” Lubin v. Panish, 415 U.S. 709, 715 (1974). The Disclaimer

Provision responds directly to voter confusion about receiving unsolicited

applications that appear to be official forms bearing on their right to vote, and

it does so by ensuring the voters will not mistake the application for a ballot.

This, in turn, leads to less administrative burdens as fewer complaints and

concerns are raised with state election officials. Day 2 Tr. 13:12–15 (describing

burdens); Mashburn Depo. 134:5–135:7 (explaining drop in complaints

following SB 202).

      The Disclaimer Provision is also narrowly tailored to that interest.

Again, the State could have prohibited third parties from sending applications

altogether but opted instead to require a disclaimer on the application to

address voter confusion. Since the Court’s preliminary-injunction Order,

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Plaintiffs have not developed any evidence showing otherwise. Rather, it

remains true that the disclaimer is unlikely to cause voter confusion. [Doc. 131

at 46–47]. And, in any event, the fit need only be reasonable. McCutcheon v.

FEC, 572 U.S. 185, 218 (2014). Each statement in the disclaimer meets that

standard, and the Court should enter summary judgment in the State’s favor

on Plaintiffs’ claims challenging the Disclaimer Provision.

III.   The Challenged Provisions do not Implicate Plaintiffs’ Freedom
       of Association.

       In addition to claiming that the Challenged Provisions burden their

speech, Plaintiffs claim that the provisions burden their freedom of association.

Those claims fail any level of scrutiny for substantially the same reasons as

Plaintiffs’ speech claims fail.

       The Supreme Court has often explained that the First Amendment

protects “join[ing] in a common endeavor” or engaging in “collective effort on

behalf of shared goals.” Roberts v. U.S. Jaycees, 468 U.S. 609, 618, 622 (1984).

This Court was thus correct when it concluded that “the cornerstone of

associational rights is cooperative advocacy.” [Doc. 131 at 27]. Because of its

emphasis on “common” or “cooperative” work, the right to associate cannot be

invoked to link people who are legally “strangers” to them because they are

“not members of [that] particular organization.” Id.



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      Discovery has confirmed the accuracy of the Court’s prior conclusion

that: “Plaintiffs send application forms to strangers whose information they

obtain from the state’s voter roll.” [Doc. 131 at 28]. Indeed, that was confirmed

repeatedly during discovery, when Plaintiffs’ representative testified that

Plaintiffs receive contact information from data vendors, not from voters.

Lopach Depo. 90:18–20. 9 Moreover, Plaintiffs do not select their recipients

based on any preexisting relationship but based instead on demographics.

Id. 11:15–19, 12:12–16.

      This Court was thus correct to conclude that Plaintiffs’ programming

lacks any “two-way engagement” between Plaintiffs and the voters they target.

[Doc. 131 at 28]. Now, as before, “Plaintiffs have not shown that the

[Challenged Provisions] restrict their associational rights.” Id.

      Moreover, even if the Challenged Provisions somehow affected Plaintiffs’

associational rights, “regulations adopted to serve compelling state interests,

unrelated to the suppression of ideas, that cannot be achieved through means

significantly less restrictive of associational freedoms,” are constitutional. Boy

Scouts of Am. v. Dale, 530 U.S. 640, 640–41 (2000). Here again, the Challenged



9 In fact, the only evidence of voters interacting with Plaintiffs after receiving

their absentee-ballot mailings is when voters contact Plaintiffs to request
removal from future mailings. See Lopach Depo. 101:20–102:12.


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Provisions readily meet that test for the reasons described above. Starting with

the narrow tailoring requirement, the Challenged Provisions do not affect

Plaintiffs’ ability to send communications to Georgia voters. Now, as before,

they remain free to “use their communications to build their political

community.” [Doc. 103 at 18]. Plaintiffs may also continue communicating with

voters through other mailings. They may even send non-duplicative and non-

prefilled ballot applications—as long as they include the disclaimer.

      There is simply no evidence that Plaintiffs’ ability to associate with

voters turns on pre-filling an absentee-ballot application or on sending

duplicate applications after a voter has already requested a ballot. That is

because, as the Court already concluded, the Challenged Provisions do not

“restrict [Plaintiffs’] associational rights.” [Doc. 131 at 28].

      Accordingly, under any standard of scrutiny, the Court should enter

summary judgment for the State on Plaintiffs’ freedom-of-association claims.

IV.   The Challenged Provisions are not Overbroad.

      The Court should also enter summary judgment for the State on

Plaintiffs’ claim that the Challenged Provisions are unconstitutionally

overbroad. As this Court has already recognized, “the bar for ultimate success

is high” in overbreadth claims. [Doc. 57 at 16]. Indeed, the Supreme Court has

stated that the overbreadth doctrine should be applied “only as a last resort.”


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New York v. Ferber, 458 U.S. 747, 769 (1982) (quotation omitted). Here,

Supreme Court doctrine requires Plaintiffs to show that the Challenged

Provisions “punish[] a ‘substantial’ amount of protected free speech, judged in

relation to the statute’s plainly legitimate sweep.” Virginia v. Hicks, 539 U.S.

113, 118–19 (2003) (quotation omitted). And, even then, the “mere fact that

one can conceive of some impermissible applications of a statute is not

sufficient to render it susceptible to an overbreadth challenge.” Members of

City Council of L.A. v. Taxpayers for Vincent, 466 U.S. 789, 800 (1984).

      1. At the outset, the Court has already correctly concluded that the Pre-

Filling Prohibition and Anti-Duplication Provision restrict conduct, not speech.

[Doc. 131 at 25–26, 38]. As the Supreme Court has explained, that makes the

overbreadth scrutiny even “less rigid.” Broadrick, v. Oklahoma, 413 U.S. 601,

614 (1973). In fact, the Eleventh Circuit has explained that the “concept of

overbreadth will usually only apply when a case involves constitutionally

protected conduct.” Hershey v. City of Clearwater, 834 F.2d 937, 940 n.5 (11th

Cir. 1987) (emphasis added). That is likely why this Court, at the motion-to-

dismiss stage, stated that the question whether to dismiss Plaintiffs’

overbreadth claim was “a close question” even assuming that the provisions

“impinge on constitutional rights.” [Doc. 57 at 15].

      2. The evidence confirms that neither the Pre-filling Prohibition nor the

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Anti-Duplication Provision are unconstitutionally overbroad. Looking first at

the Pre-Filling Prohibition, it has a plainly legitimate sweep because it serves

the State’s compelling interest in preventing voter confusion and the

perception of fraud, and it is narrowly tailored to apply only to unsolicited

absentee-ballot applications sent by third parties. Day 2 Tr. 18:5–24.

      Plaintiffs have not developed any evidence to the contrary. Rather, in

their Complaint, Plaintiffs identified only one possible example of overbreadth

where a voter provides Plaintiffs with the information to pre-fill the

application. [Doc. 1 ¶ 149]. But the State already showed that the Pre-Filling

Prohibition does not apply “where the absentee-ballot application is solicited

by the voter[s] and the voter[s] themselves provide[] Plaintiffs with the

required prefilled information.” [Doc. 1 ¶ 149]; Day 2 Tr. 38:16–39:8. As the

Pre-Filling Prohibition does not even reach the one example of overbreadth

Plaintiffs identified, this challenge to the Pre-Filling Prohibition fails. 10

      For similar reasons, the Anti-Duplication Provision is not substantially

overbroad. As the State already demonstrated, the Anti-Duplication Provision

has a clearly legitimate sweep because it responds directly to concerns about



10 Further, even if that one situation did raise constitutional questions, it does

not rise to the level of overbreadth required to invalidate a duly enacted
statute. See Members of City Council, 466 U.S. at 800.


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voter confusion and burdens on election administration. And Plaintiffs have

not identified the “substantial amount of protected free speech” that this

provision allegedly limits. Hicks, 539 U.S. at 118–19. Rather, once again,

Plaintiffs point to just one hypothetical, where an individual has already

requested an absentee ballot and the Anti-Duplication Provision prevents

Plaintiffs from sending another application where the individual “made an

error on their prior request, had their prior request rejected, or need[ed] a new

application for any other reason.” [Doc. 1 ¶ 150]. But that is precisely what

the Supreme Court had in mind when it held that the “mere fact that one can

conceive of some impermissible applications of a statute is not sufficient to

render it susceptible to an overbreadth challenge.” Members of City Council,

466 U.S. at 800. Accordingly, this hypothetical falls far short of showing that

the Anti-Duplication Provision limits a “substantial amount of protected free

speech.” 11 Hicks, 539 U.S. at 118–19.

      3. Finally, as with the other Challenged Provisions, Plaintiffs’ challenge

to the Disclaimer Provision [Doc. 1 ¶ 147] fails for several reasons.

      First, like the other provisions, the Disclaimer Provision has a legitimate



11 Of course, such a voter could still obtain an application from the Secretary

of State or county election officials, O.C.G.A. § 21-2-381(a)(3)(A), or through
VoteAmerica’s online absentee-ballot application tool, [Doc. 1 ¶ 19].


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sweep, merely requiring private entities sending applications to voters to note

that they, not the government, are the senders, that the document is not a

ballot, and that it is not an official government publication. Even Plaintiffs’

expert recognized that latter point to be true: although the “application

provided by third parties is ‘identical’ to” the application, it is “not the actual

government publication.” [Doc. 131 at 42 n.13].

      Second, Plaintiffs have not identified how the Disclaimer Provision

impinges any protected speech or activities. In fact, Plaintiffs have not even

relied on the hypothetical harms like they did for their overbreadth challenges

to the other provisions. Here, Plaintiffs claim that the Disclaimer Provision

somehow stops “individual Georgians [from] helping each other participate in

the political process.” [Doc. 1 ¶ 148]. But there is no reason that including an

accurate disclaimer prevents Plaintiffs from helping “other[s] participate in

the political process.” Id. If anything, the disclaimer increases the ways that

Plaintiffs can help voters. Voters will now know from the application that it

was provided by Plaintiffs, and thus Plaintiffs can field questions from voters.

      But even if Plaintiffs resist sending applications with the disclaimer,

that would not stop them from communicating their messages about absentee

voting.   For instance, Plaintiffs could send a link to the absentee-ballot

application on the Secretary of State’s website, which would not require

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Plaintiffs to include the disclaimer in their mailing. Day 2 Tr. 45:24–46:2.

Thus, the Disclaimer Provision is not substantially overbroad because it does

not substantially burden conduct and has a plainly legitimate sweep.

V.    The Challenged Provisions are not Vague.

      Finally, the Court should reject Plaintiffs’ claims that the Challenged

Provisions are unconstitutionally vague, as each provision provides sufficient

notice about what it requires. As the Supreme Court has often explained, a

law is void for vagueness only if it “fails to give ordinary people fair notice of

the conduct it punishes” or is “so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595 (2015). In making

that determination, moreover, courts applying the vagueness doctrine are “not

required to exhibit a naiveté from which ordinary citizens are free.” Dep’t of

Com. v. New York, 139 S. Ct. 2551, 2575 (2019) (cleaned up).

      Under these standards, none of the Challenged Provisions is susceptible

to a challenge for vagueness. In fact, these challenges fail for the same reasons

that Plaintiffs’ overbreadth claims fail. As the Eleventh Circuit has explained,

vagueness claims are governed by nearly the same basic standard as

overbreadth claims: “[w]hen an ordinance implicates no constitutionally

protected conduct, a challenge as to the vagueness of the enactment on its face

should succeed only if the enactment is impermissibly vague in all its


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applications.” Hershey, 834 F.2d at 940 n.5 (emphasis added).

      1. Beginning with the Pre-Filling Prohibition, Plaintiffs focus first on

the statute’s use of the word “send” to suggest unconstitutional vagueness.

[Doc. 1 ¶ 157]. But the meaning of the word “send” is clear, especially in

context. See United Sav. Ass’n. of Tex. v. Timbers of Inwood Forest Assocs., 484

U.S. 365, 371 (1988). The ordinary and natural meaning of “sent” (or “send”)

in this context is “to cause something to go from one place to another,”

Cambridge Dictionary (online ed.), 12 and “to convey or cause to be conveyed,”

Merriam-Webster Dictionary (online ed.). 13 To quote Plaintiffs’ own attorney,

the Pre-Filling Prohibition “clearly applies to mailing absentee-ballot

applications prefilled.” Germany Depo. 171:10–11. And Ryan Germany also

made clear that it applies to “e-mail” for similar reasons. Id. 171:8–22. The

word “send” thus means in practice what it suggests in the statute—providing

a voter with an unsolicited, pre-filled absentee-ballot application.

      Nor are Plaintiffs correct that there is anything remotely vague about

the prohibition on “prefill[ing]” an absentee-ballot application “with the

elector’s required information.” [Doc. 1 ¶ 157]. Plaintiffs fail in their attempt




12 https://dictionary.cambridge.org/us/dictionary/english/send.

13 https://www.merriam-webster.com/dictionary/send.



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to manufacture vagueness here by asking about the provision’s application to

pre-filling all of a voter’s required information or just some of the voter’s

information. Id. As the General Assembly explained, this provision sought to

address groups like Plaintiffs sending applications “with incorrectly filled-in

voter information.” SB 202 § 2(8). That issue clearly arises with any incorrectly

pre-filled information.

      Indeed, Plaintiffs clearly understand the reach of this provision, as

shown by the fact that they complied with it in their 2022 mailings. Lopach

Depo. 162:4–11. Accordingly, this claim falls far short of satisfying Plaintiffs’

obligation to show that the Pre-Filling Prohibition is “impermissibly vague in

all its applications.” Hershey, 834 F.2d at 940 n.5 (emphasis added).

      2. The same is true of Plaintiffs’ vagueness challenge to the Anti-

Duplication Provision. Here, Plaintiffs challenge the inclusion of the word

“mail.” [Doc. 1 ¶ 158]. As already discussed, the Anti-Duplication Provision

unambiguously allows only appropriate election officials to “mail [absentee-

ballot] applications … to individuals who have … already requested, received,

or voted an absentee ballot in the primary, election, or runoff”—and even then,

only if the voters themselves request them. O.C.G.A. § 21-2-381(a)(3)(A).

      Plaintiffs have again failed to develop any evidence of how anyone could

be unclear about what it means to “mail” an application. As Plaintiffs’ conduct

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shows, they correctly understood that it applies to their pre-SB 202 mailings.

Compare Lopach Depo. 41:17–42:11, 44:5–7 (multiple waves in 2020), with

Lopach Depo. 133:19–134:4, 150:11–14 (one wave in 2022). Accordingly, here

again, Plaintiffs’ claim fails based, in large part, on their own conduct.

      3. Finally, the Disclaimer Provision is not unconstitutionally vague.

Here, Plaintiffs’ challenge to this provision (like the others) alleges ambiguity

in the word “sent.” But the Disclaimer Provision clearly applies to absentee-

ballot applications that third parties cause—by mail, e-mail, or otherwise—to

be conveyed to Georgia voters. Germany Depo. 100:7–10. Accordingly, like

Plaintiffs’ other vagueness challenges, the Court should enter summary

judgment for the State on Plaintiffs’ claim that the Disclaimer Provision is

unconstitutionally vague.

                                CONCLUSION

      The record confirms that Plaintiffs cannot support their claims that any

of the Challenged Provisions violates the First Amendment. Indeed, they

remain free to communicate their pro-absentee-voting message to Georgia

voters. In contrast, the record is replete with examples of the harms that

Plaintiffs’ previous mailings caused the State and Georgia voters. Accordingly,

under any standard of review, each of the Challenged Provisions survives and

the Court should enter summary judgment in the State’s favor.


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Respectfully submitted this 13th day of December, 2022.

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                    CERTIFICATE OF COMPLIANCE


      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(C).


                                    /s/Gene C. Schaerr
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